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                                          August 15, 2024

 Via CM/ECF & Hand Delivery
  The Honorable Christopher J. Burke
  United States District Court
  J. Caleb Boggs Federal Building
  844 North King St. Unit 18
  Wilmington, DE 19801

  Re: Arnold v. X. Corp. f/k/a Twitter, Inc., C.A. No. 1:23-cv-00528-JLH-CJB
      Woodfield v. Twitter, Inc., C.A. No. 1:23-cv-00780-JLH-CJB

 Dear Judge Burke:

         We write to inform the Court that the parties have agreed to a partial stay of the above
 captioned actions as part of a bellwether agreement between Defendants and the many former
 Twitter employees represented by Plaintiffs’ counsel (the “Bellwether Parties”). In hopes of
 expeditiously resolving the many actions arising out of the underlying facts at issue in Arnold and
 Woodfield, the Bellwether Parties have selected five arbitrations to be heard first, with a mediation
 to follow. Pursuant to that agreement, the above captioned actions are to be stayed except that:
            1. Third-party discovery shall continue; and
            2. The Court can and should proceed to decide the pending motions before it in the
               two actions, which are:
                     a. In Arnold:
                            i. Defendants’ motions to dismiss, Docket Nos. 14 and 17 (as renewed
                               by Dockets No. 77 and 78); and
                            ii. Defendants’ motion to quash, Docket No. 44 (as renewed by Docket
                                No. 79); and
                     b. In Woodfield:
                            i. Corporate Defendants’ motion to compel arbitration, Docket No. 11
                               (as renewed by Docket No. 52); and
                            ii. Defendant Musk’s motion to dismiss, Docket No. 20 (as renewed by
                                Docket No. 53).
        The Bellwether Parties’ agreement calls for the first hearing to take place in February 2025,
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 and relies on the continued availability of third-party discovery in Woodfield and Arnold to advance
 the goal of completing general discovery in all of the cases (i.e. all discovery other than that related
 only to specific non-bellwether plaintiffs/claimants or to claims only included in Arnold, such as
 the PAGA claim) by the end of 2024. For that reason, Plaintiffs respectfully, and with due regard
 for the Court’s schedule and knowledge that the Court is not at Plaintiffs’ convenience, request
 that the Court rule as expeditiously as possible on the motion to quash in Arnold, so that any
 discovery sought by the subpoenas at issue and allowed by the Court can be available for the
 bellwether hearings and eventual mediation that (the parties hope and expect) will resolve the
 above-captioned actions.
                                                                 Respectfully,
                                                                 /s/ Joseph L. Christensen
                                                                 Joseph L. Christensen (#5146)
